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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION

  VOCALIFE LLC,                                   §
                                                  §
                 Plaintiff,                       §
                                                  §
  v.                                              §   CIVIL ACTION NO. 2:19-CV-00123-JRG
                                                  §
  AMAZON.COM, INC., AMAZON.COM                    §
  LLC,                                            §
                                                  §
                 Defendants.                      §
                                                  §


               ORDER ON PRETRIAL MOTIONS AND MOTIONS IN LIMINE

          The Court held a Pretrial Conference in the above-captioned matter on Thursday,

 September 24, 2020 regarding motions in limine (“MILs”) and other pending pretrial motions filed

 by Plaintiff Vocalife LLC (“Vocalife”) and Defendants Amazon.com, Inc. and Amazon.com LLC

 (together, “Amazon”) (collectively, “the Parties”). (Dkt. Nos. 262, 128, 131, 239, 232, 233, 229,

 132, 126, 129, 130, 127, 133, 284, 195, 202, 196, 219). This Order memorializes the Court’s

 rulings on the aforementioned MILs and motions as announced into the record, including

 additional instructions that were given to the Parties. While this Order summarizes the Court’s

 rulings as announced into the record during the pretrial hearing, this Order in no way limits or

 constrains such rulings from the bench. Accordingly, it is hereby ORDERED as follows:

                                    PRETRIAL MOTIONS

       1. Amazon’s Motion for Summary Judgment of Invalidity under § 101 and § 112 (Dkt.

          No. 262)

          This Motion was DENIED. (Dkt. No. 307 at 44:18-19). The Court noted that, considering

 the motion in the light most favorable to the non-movant, the Court was compelled to allow
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 Plaintiff to make its argument to the jury. (Id. at 44:7-18). The Court also found no basis to

 preclude Defendants from confronting the inventor on the witness stand and eliciting an

 explanation. (Id. at 44:20-24).

    2. Amazon’s Motion for Summary Judgment of Noninfringement Based on “Delay”

        Limitations (Dkt. No. 128)

        This Motion was DENIED. (Dkt. No. 307 at 64:24-25). The Court found that there were

 material questions of fact which preclude summary judgment. (Id. at 64:21-65:5).

    3. Amazon’s Motion for Partial Summary Judgment of No Indirect Infringement, No

        Doctrine of Equivalents, and for Summary Judgment of Noninfringement Based on

        “Spatial Location” limitations (Dkt. No. 131)

        This Motion was GRANTED-IN-PART and DENIED-IN-PART. (Dkt. No. 307 at

 105:5-23). The Court GRANTED the Motion as to any pre-suit indirect infringement. (Id. at

 105:5-8). The Court DENIED the Motion as to the doctrine of equivalents, finding that the

 prosecution history did not show a clear distinction between a general purpose processor (“GPP”)

 and digital signal processor (“DSP”). (Id. at 105:9-17). The Court also DENIED the Motion as to

 the “spatial location” limitation, finding that there was an open question of fact. (Id. at 105:18-23).

    4. Amazon’s Motion for Summary Judgment of No Willfulness (Dkt. No. 239)

        This Motion was DENIED. (Dkt. No. 307 at 112:21). Under Halo Electronics, Inc. v. Pulse

 Electronics, Inc., 136 S. Ct. 1923 (2016), the totality of the circumstances should be considered,

 which, given various fact questions in this case, precludes summary judgment. (Id. at 112:21-25).

    5. Amazon’s Motion for Leave to Supplement its Answer, Counterclaims, Interrogatory

        Responses, and Disclosures in Response to Plaintiff’s Newly Discovered Willfulness

        Allegations (Dkt. No. 232)



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        This Motion was GRANTED. (Dkt. No. 307 at 114:9-10). The Court noted its broad

 discretion to manage the case and to grant leave where the Court is persuaded that unique

 circumstances warrant it. (Id. at 114:5-9). In light of Plaintiff’s late-breaking willfulness

 allegations, the Court found Defendants were permitted to supplement their pleadings and

 discovery responses as to willfulness. (Id. at 114:15-18). This Motion was heard concurrently with

 Vocalife’s Motion to Strike (Dkt. No. 233).

    6. Vocalife’s Motion to Strike Defendants’ Answer and Counterclaims, Seventh

        Supplemental Interrogatory Responses, and Sixth Supplemental Initial Disclosures

        (Dkt. No. 233)

        This Motion was DENIED. (Dkt. No. 307 at 114:9-10). The Court found that Defendants

 were permitted to supplement their pleadings and discovery responses and that Plaintiff’s effort to

 strike such was not proper. (Id. at 114:15-19). This Motion was heard concurrently with Amazon’s

 Motion for Leave (Dkt. No. 232).

    7. Amazon’s Motion for Leave to Supplement the Rebuttal Report of Dr. Sayfe Kiaei

        (Dkt. No. 229)

        This Motion was GRANTED. (Dkt. No. 307 at 121:5). The Court found that Plaintiff could

 fairly and reasonably deal with Dr. Kiaei’s opinions through cross-examination. (Id. at 121:7).

 Further, having allowed the willfulness issue to be brought into the case, the Court does not

 preclude Dr. Kiaei from responding to it. (Id. at 121:7-10).

    8. Vocalife’s Motion to Exclude Nicholas P. Godici (Dkt. No. 132)

        This Motion was GRANTED. (Dkt. No. 307 at 144:22-23). The Court was not persuaded

 that there was any significant probative value beyond that already provided by the FJC patent video

 and the Court’s own preliminary instructions so as to justify allowing the former Commissioner



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 of Patents to testify before the jury. (Id. at 143:19-144:1). The Court further found that Mr. Godici

 was of such standing that, were he to go beyond these uncontested background factual matters,

 substantial prejudice would ensue. (Id. at 144:12-16). In the Court’s view, the risk of such

 prejudice outweighed any probative value. (Id. at 144:17-21). The Court precluded Mr. Godici

 from testifying before the jury, but will allow Mr. Godici to testify to the Court regarding the

 inequitable conduct issue. (Id. at 144:22-25).

    9. Amazon’s Motion to Strike Certain Unsupported Source Code References in the

        Expert Report of Joseph McAlexander (Dkt. No. 126)

        This Motion was DENIED. (Dkt. No. 307 at 155:23). Mr. McAlexander may not go

 beyond the scope of his report, but the source code references contained within his report were not

 struck. (Id. at 156:21-25).

    10. Vocalife’s Motion to Exclude Opinions of Dr. Kiaei (Dkt. No. 129)

        This Motion was WITHDRAWN. Vocalife withdrew the Motion from consideration.

 (Dkt. No. 307 at 158:9-10).

    11. Vocalife’s Motion to Strike Portions of Dr. Kiaei’s Rebuttal Report (Dkt. No. 130)

        This Motion was DENIED. (Dkt. No. 307 at 165:20-23). The Court made clear that

 testimony cannot be given to read-out the “capable” limitation in the claim. (Id. at 165:6-10).

    12. Amazon’s Daubert Motion to Exclude Certain Damages Testimony of Alan Ratliff

        and Joseph McAlexander (Dkt. No. 127)

        This Motion was DENIED. (Dkt. No. 307 at 188:2-3). First, the Court found that, with

 regard to Mr. Ratliff’s apportionment of the 40-50% value of the accused devices to the patent,

 converting a qualitative technical analysis to a quantitative apportionment of value is not an exact

 science, but Mr. Ratliff had done a reasonable job. (Id. at 186:1-10). Second, the Court found that



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 with regard to Mr. McAlexander’s opinion that the patented features are “almost, if not as,

 important as” non-patented features, Mr. McAlexander compared the patented features to non-

 patented features in his analysis and therefore that analysis met the standards of Daubert and Rule

 702. (Id. at 186:11-20). Third, regarding Mr. Ratliff’s apportionment of 6-7% of projected profits

 through Echo sales channels, the Court noted that there were several degrees of separation between

 Amazon’s marketing expenditures and downstream sales profits, but found that Amazon will have

 an ample opportunity to expose any flaws to the jury through vigorous cross-examination. (Id. at

 186:21-187:3). Fourth, Ratliff’s opinions based on downstream economic value (“DEV”) did not

 rise to a level requiring that they be struck, but such could be adequately and fairly addressed via

 vigorous cross-examination. (Id. at 187:15-20). The Court noted that the Federal Circuit has

 allowed experts to use internal metrics like DEV, including incremental profits, and base a

 damages model on that metric. (Id. at 187:11-14). Finally, the Court found that Mr. Ratliff’s

 reasonableness checks—comparisons to Alexa sales projections and Apple HomePod products—

 were not so unreliable as to be excluded under Daubert. (Id. at 187:21-188:1).

    13. Vocalife’s Motion to Strike Portions of the Expert Rebuttal Report of Daniel M.

        McGavock (Dkt. No. 133)

        This Motion was DENIED. (Dkt. No. 307 at 194:16). Under the Finjan, Inc. v. Secure

 Computing Corp. line of cases, the Federal Circuit has never required that identity of the

 circumstances be present for comparability and have long acknowledged that a reasonable royalty

 analysis involves an element of approximation and uncertainty. (Id. at 193:21-194:1, citing 626

 F.3d 1197, 1211 (Fed. Cir. 2010)). The Federal Circuit has also, in ActiveVideo Networks, Inc. v.

 Verizon Commc’ns, Inc. 694 F.3d 1312, 1333 (Fed. Cir. 2012), expressed a clear preference for

 cross-examination as a medium to challenge comparability, rather than exclusion. (Dkt. No. 307



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 at 194:2-5). In light of such, the Court did not strike the challenged opinions, but properly allowed

 them to be subjected to vigorous cross-examination over the course of trial. (Id. at 194:9-15).

    14. Amazon’s Motion for Leave to Take the Trial Testimony of Matthew Holland (Dkt.

        No. 284)

        This Motion was GRANTED. (Dkt. No. 307 at 199:17).

    15. Amazon’s Motion for Leave to File MIL No. 16 (Dkt. No. 219)

        This Motion was GRANTED. (Dkt. No. 307 at 243:12-13).

                                      MOTIONS IN LIMINE

        It is ORDERED that the Parties, their witnesses, and counsel shall not raise, discuss, or

 argue the following before the venire panel or the jury without prior leave of the Court:

        1. Agreed Motions in Limine (Dkt. No. 195)

        The following mutually applicable MILs are GRANTED-BY-AGREEMENT OF THE

        PARTIES:

    •   Agreed MIL No. 1: Any evidence, argument, or testimony regarding race, religion, gender,

        sexual orientation, or political affiliations of witnesses or attorneys. The parties also agree

        not to refer to the nationality, citizenship or visa status of the other party’s witnesses. This

        agreement does not prevent a witness from mentioning any of the above topics as part of

        their own background, or an attorney taking direct examination regarding the same.

    •   Agreed MIL No. 2: Any evidence, argument, or testimony regarding discovery disputes

        and any prior rulings of this Court on any motions, including but not limited to motions for

        summary judgment, motions to dismiss, motions to strike evidence, motions in limine, or

        Daubert motions, with the exception of the Court’s claim constructions. While the Parties

        may refer to facts underlying or resulting from summary judgment motions, any reference


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        to the motions or the Court’s Orders should be precluded. Fed. R. Evid. 403. The Court

        precludes references, directly or indirectly, to each other’s claim-construction positions in

        the presence of the jury and preclude mention of any portion of the Court's claim

        construction opinion, other than the actual definitions adopted by the Court, in the presence

        of the jury. (See Dkt. No. 83 at 51).

    •   Agreed MIL No. 3: Any evidence, argument, or testimony regarding litigation financing

        (such as any financing from Woodsford) or attorney fee rates or amounts spent in

        prosecuting or defending this case.

    •   Agreed MIL No. 4: Affirmative arguments or references to privacy concerns relating to the

        Accused Products, e.g., violating privacy laws or standards, spying on Amazon customers,

        or invading the privacy of Amazon customers.

    •   Agreed MIL No. 5: Any evidence or argument that an expert’s testimony was excluded or

        found to be unreliable in other lawsuits or that an expert has consulted for the other party

        or law firm.

    •   Agreed MIL No. 6: Any suggestion that Amazon infringes any unasserted claim of the

        ’049 patent or any other patent of Vocalife, Li Creative, or Dr. Li.

    •   Agreed MIL No. 7: “Golden Rule” arguments (i.e., asking jury to treat party as they would

        want to be treated or to put themselves in party’s shoes).

    •   Agreed MIL No. 8: Any reference to any party’s use of jury consultants or jury study or

        focus groups.

    •   Agreed MIL No. 9: Any reference to Amazon’s total revenue, sales, or profit in dollars.

    •   Agreed MIL No. 10: Any allegation that Knobbe Martens (Amazon’s litigation counsel)

        prosecuted any patent for Amazon.


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         2. Plaintiff Vocalife’s Opposed Motions in Limine (Dkt. No. 202)

     •   Vocalife’s MIL No. 1: Derogatory, disparaging, and/or pejorative references to Vocalife

         LLC and Li Creative Technologies, Inc. as non-practicing entities.

         This MIL was GRANTED-AS-AGREED. (Dkt. No. 307 at 202:18-23). The Parties are

 not to make disparaging remarks of the licensing business of the Plaintiff or of business practices

 of the Defendant. (Id. at 202:9-12). The Parties also are not to name-call, such as referring to each

 other as “troll,” “patent troll,” “non-practicing entity,” “big brother,” “behemoth,” “monopolist,”

 “cheater,” “copier,” “thief,” or “Goliath.” (Id. at 202:12-17). The Court further advised both Parties

 that if anything else is exchanged between the Parties that the Court deems to be derogative, the

 Court will take appropriate action, including sanctions. (Id. at 202:19-23).

     •   Vocalife’s MIL No. 2: Disparaging the USPTO.

         This MIL was WITHDRAWN. Vocalife withdrew this MIL from consideration. (Dkt. No.

 307 at 202:24-203:3).

     •   Vocalife’s MIL No. 3: Preclude Defendants from introducing evidence, argument,

         reference, or elicitation of testimony related to potential targets for litigation.

         This MIL was GRANTED-AS-AGREED. (Dkt. No. 307 at 203:17-19). The Parties

 agreed and the Court precludes Defendants from introducing evidence, arguments, reference, or

 elicitation of testimony relating to potential targets for litigation, except as to the Google offer. (Id.

 at 203:9-16).

     •   Vocalife’s MIL No. 4: Preclude Defendants from introducing evidence, argument,

         reference, or elicitation of testimony related to Vocalife and/or Li Creative Technologies,

         Inc.’s financial positions.




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        This MIL was WITHDRAWN. Vocalife withdrew this MIL from consideration. (Dkt. No.

 307 at 203:20-25).

    •   Vocalife’s MIL No. 5: Preclude Defendants from introducing evidence, argument,

        reference, or elicitation of testimony related to Vocalife’s intellectual property

        monetization or litigation efforts unrelated to the current lawsuit.

        This MIL was WITHDRAWN. Vocalife withdrew this MIL from consideration. (Dkt. No.

 307 at 204:1-4).

    •   Vocalife’s MIL No. 6: Evidence, argument, reference, documents, or elicitation of

        testimony regarding Dr. Peter Li’s submission to the Google Patent Purchase Promotion

        Program.

        This MIL was WITHDRAWN. Vocalife withdrew this MIL from consideration. (Dkt. No.

 307 at 204:5-8).

    •   Vocalife’s MIL No. 7: Preclude Defendants from referencing inter partes review

        proceedings or success rate of such proceedings.

        This MIL was GRANTED-AS-AGREED. (Dkt. No. 307 at 204:19-21). The Parties

 agreed and the Court precludes any party from presenting any evidence, argument, or testimony

 that the ‘049 Patent is now subject to inter partes review before the PTAB or that the PTAB

 proceedings are even part of the patent system. (Id. at 204:12-18).

    •   Vocalife’s MIL No. 8: References, evidence, suggestion, testimony, or elicitation of any

        testimony by Defendants comparing any accused product to any purported prior art device,

        a prior art patent, or any other prior art.

        This MIL was GRANTED. (Dkt. No. 307 at 207:9-10). The Court precludes the Parties

 from using any prior art to compare to the accused products or anything else that would relate to a


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 “practicing the prior art” defense regarding infringement. (Id. at 206:18-21). The Court allowed

 the use of prior art to show a high-level background of the state of the art and to rebut evidence of

 copying. (Id. at 206:21-24).

     •   Vocalife’s MIL No. 9: Reference, evidence, suggestion, testimony, or elicitation of any

         testimony by Defendants regarding Vocalife’s election of patent claims to streamline this

         litigation.

         This MIL was GRANTED. (Dkt. No. 307 at 209:7-10). The Court precludes reference to

 the election to withdraw or drop claims to streamline the litigation. (Id. at 209:8-10).

     •   Vocalife’s MIL No. 10: Reference, evidence, suggestion, testimony, or elicitation of any

         testimony by Amazon that Vocalife engaged in “forum shopping” or “litigation abuse,” or

         that this district is a popular venue for patent holders.

         This MIL was GRANTED-AS-AGREED. (Dkt. No. 307 at 210:15-17, 214:4-5). The

 Parties agreed and the Court orders the Parties not to argue that either party engaged in forum

 shopping or litigation abuse or that this district is a popular venue for patentholders. (Id. at 210:9-

 13). The Parties also are precluded from any mention of any effort to try to transfer this or any

 case out of this district. (Id. at 213:24-214:3).

     •   Vocalife’s MIL No. 11: Preclude Defendants from introducing any evidence, argument,

         reference, or elicitation of testimony of non-elected prior art references.

         This MIL was GRANTED. (Dkt. No. 307 at 212:20-21). The Court made clear that the

 use of non-elected prior art was generally permissible to rebut evidence of copying, however, the

 Court mandates that the Defendants first obtain leave of the Court before going into any unelected

 prior art for such purposes so the Court can exercise its gatekeeping role. (Id. at 212:21-213:1).

     •   Vocalife’s MIL No. 12: “Patent law expert” Nicholas P. Godici.


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        This MIL was WITHDRAWN. Vocalife withdrew this MIL from consideration. (Dkt. No.

 307 at 214:7-11).

    •   Vocalife’s MIL No. 13: Preclude Defendants from introducing evidence, argument,

        reference, or elicitation of testimony regarding inequitable conduct.

        This MIL was WITHDRAWN. Vocalife withdrew this MIL from consideration. (Dkt. No.

 307 at 214:7-11).

        3. Defendants’ Opposed Motions in Limine (Dkt. No. 196)

    •   Amazon’s MIL No. 1: Argument or suggestion that Amazon “copied” the patented

        invention based on the 2011 meeting.

        This MIL was WITHDRAWN. Amazon withdrew this MIL from consideration. (Dkt. No.

 307 at 218:12-14).

    •   Amazon’s MIL No. 2: Argument or suggestion that Amazon knew of the RE ‘049 Patent

        based on the 2011 meeting.

        This MIL was WITHDRAWN. Amazon withdrew this MIL from consideration. (Dkt. No.

 307 at 218:12-14).

    •   Amazon’s MIL No. 3: Any reference to the 2011 meeting.

        This MIL was WITHDRAWN. Amazon withdrew this MIL from consideration. (Dkt. No.

 307 at 218:12-14).

    •   Amazon’s MIL No. 4: Characterizations of “stealing,” “copying,” “pirating,”

        “trespassing,” or any similar terms.

        This MIL was GRANTED-IN-PART. The Court precludes the above or similar terms,

 with the single exception of “copying.” (Dkt. No. 307 at 219:10-11).




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    •   Amazon’s MIL No. 5: Argument or suggestion that Amazon learned of the patented

        invention from former Li Creative employee, Wei Li.

        This MIL was DENIED. The Court did not find that such argument or suggestion was

 excludable under Federal Rule of Evidence 403. (Dkt. No. 307 at 220:23-221:1).

    •   Amazon’s MIL No. 6: Argument or suggestion that Amazon hired Wei Li to learn about

        Li Creative’s technology or that the hiring was improper.

        This MIL was GRANTED-AS-AGREED. (Dkt. No. 307 at 221:13-15). The Parties

 agreed and the Court orders that they not argue or suggest that Amazon hired Wei Li to learn about

 Li Creative’s technology or that the hiring was improper. (Id. at 221:7-12).

    •   Amazon’s MIL No. 7: Reference to other litigation or settlements.

        This MIL was GRANTED-AS-AGREED. (Dkt. No. 307 at 221:22). The Parties agreed

 and the Court orders them not to reference other litigation or settlements. (Id. at 221:17-19).

    •   Amazon’s MIL No. 8: Reference to other legal issues involving Amazon or its officers,

        directors, or employees.

        This MIL was GRANTED-AS-AGREED. (Dkt. No. 307 at 222:5-6). The Parties agreed

 and the Court orders them not to reference other legal issues involving Amazon or its officers,

 directors, or employees. (Id. at 221:24-222:4).

    •   Amazon’s MIL No. 9: Reference to the unavailability of any witness who does not testify.

        This MIL was GRANTED. (Dkt. No. 307 at 223:23-24). The Court noted that, if a critical

 witness was unexpectedly unavailable, the Parties could seek leave of Court prior to discussing

 that absence (or any witness’s absence) before the jury. (Id. at 223:25-224:4).




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    •   Amazon’s MIL No. 10: Inflammatory or misleading statements about the “clear and

        convincing” evidence standard or a presumption of validity, beyond the Court’s jury

        instructions.

        This MIL was GRANTED-IN-PART and DENIED-IN-PART. (Dkt. No. 307 at 225:2,

 225:14-16). The Court will not allow discussion of the Texas Family Code standard of proof except

 for a high-level inquiry of the venire panel into whether a venire member has had a circumstance

 in his or her family where a child was removed from a home. (Id. at 224:12-23). However, the

 Court precludes any mention that the clear and convincing evidence standard applied to those kinds

 of facts. (Id. at 224:24-225:1). The Court denied the MIL with regard to mentioning the

 presumption of validity. (Id. at 225:14-16).

    •   Amazon’s MIL No. 11: Any reference to the Accused Products’: (a) total revenue or profit;

        or (b) revenue from before issuance of the RE ‘049 Patent.

        This MIL was GRANTED-IN-PART and DENIED-IN-PART. (Dkt. No. 307 at 228:5-

 8, 234:9-17). The Court denied the MIL as to total revenue and profit of the accused products. (Id.

 at 228:5-7). The Court granted the MIL as to total revenue or profits of Amazon. (Id. at 228:7-8).

 The Court denied the MIL as to the temporal issue, permitting Plaintiff’s expert to testify regarding

 the damages period applicable in light of the Court’s granting of partial summary judgment as to

 pre-suit indirect infringement. (Id. at 232:1-22). Further, the expert reports must stand on their

 own. (Id. at 234:9-10).

    •   Amazon’s MIL No. 12: Reference to the Accused Products’ total DEV.

        This MIL was DENIED. (Dkt. No. 307 at 236:2). The Court noted that the proper way to

 raise the issue would have been a motion to strike, which Defendants did not file, and that experts

 are limited to the bounds of their reports. (Id. at 235:23-236:1, 236:3-4).


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    •   Amazon’s MIL No. 13: Opinion testimony relying on unreliable hearsay from a third-party

        stock analyst.

        This MIL was DENIED. (Dkt. No. 307 at 238:10-11). However, the Court noted that

 experts cannot testify so as to parrot unreliable, unconfirmable third-party hearsay statements

 directly to the jury. (Id. at 237:20-238:8).

    •   Amazon’s MIL No. 14: Evidence or argument based on Apple’s company-wide profit

        margins.

        This MIL was WITHDRAWN. Amazon withdrew this MIL from consideration. (Dkt. No.

 307 at 238:12-14).

    •   Amazon’s MIL No. 15: Expert testimony on opinions or facts not disclosed in the expert

        report.

        This MIL was WITHDRAWN. Amazon withdrew this MIL from consideration. (Dkt. No.

 307 at 238:12-14).

    •   Amazon’s MIL No. 16: Reference, testimony, or argument that Amazon meets with other

        companies or startups about investing, then launches competing products, or any

        investigation of such conduct.

        This MIL was GRANTED-IN-PART and DENIED-IN-PART. (Dkt. No. 307 at 242:25-

 243:1-5). The Court granted this MIL as to the Wall Street Journal article, which quotes Plaintiff’s

 counsel Mr. Fabricant, but denied this MIL as to Jeff Bezos’s testimony before Congress and a

 general discussion of Amazon’s meetings with other companies. (Id. at 242:25-243:5, 246:4-15).

 The Court further GRANTED Amazon leave to file this MIL past the deadline. (Id. at 243:12-13).




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    So ORDERED and SIGNED this 30th day of September, 2020.




                                              ____________________________________
                                              RODNEY GILSTRAP
                                              UNITED STATES DISTRICT JUDGE




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